     Case 3:22-cv-00057 Document 180 Filed on 05/19/23 in TXSD Page 1 of 1
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                             ENTERED
                                                                             May 19, 2023
                     UNITED STATES DISTRICT COURT
                                                                         Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                         GALVESTON DIVISION
TERRY PETTEWAY, et al.,                   §
                                          §
       Plaintiffs.                        §
                                          §
V.                                        § CIVIL ACTION NO. 3:22-cv-00057
                                          §
GALVESTON COUNTY, et. al.,                §
                                          §
       Defendants.                        §

                                      ORDER
      Petteway Plaintiffs’ experts Dr. Matt Barreto and Mr. Michael Rios are
ordered to meet with Defendants’ experts Drs. John Alford and Randy Stevenson
via Zoom at the earliest possible time so that Dr. Barreto and Mr. Rios can show
Drs. Alford and Stevenson the specific commands that Dr. Barreto and Mr. Rios
used to conduct the analysis that underlies their rebuttal expert report. No
attorneys should be present. Drs. Alford and Stevenson must ask all questions they
have to understand how to replicate Dr. Barreto and Mr. Rios’s analysis. The Zoom
sessions should be recorded and made available to all counsel in the case.
      Defendants expressly reserve the right to file a motion to strike Dr. Barreto
and Mr. Rios’s rebuttal expert report at a later date.
      SIGNED this 19th day of May 2023.


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                                               ANDREW M. EDISON
                                        UNITED STATES MAGISTRATE JUDGE
